Case 2:18-cv-05838-DSF-JPR Document 195 Filed 08/17/20 Page 1 of 8 Page ID #:3736




                 p—n              John E. Sweene ,               Bar No. 116285)
                                  THE SWEEN Y_FI    Esci. %State
                                                           .
                                  315 S. Beverly Drive, Suite 305
                                  Beverly Hills, CA 90212
                                  Tel. No.:_ (310 277-9595 /Fax No.: (310) 277-0177
                                  E—Mai1:Jes@t esWeeneyﬁr1n.com
                                  Steven C. Glickman, Es . (State Bar No. 105436)
                                  GLICKMAN & GLIC MAN,
                                  A LAW_ CORPORATION _
                                  9460 Wilshire Boulevard, Suite 330
                                  Beverly Hills, CA 90212
                                  Tel. No.: (310) 273-4040 / Fax No.: (310) 273-0829
                                  E—Mail: scg@glickman—law.com

                                  Attorneys for Plaintiff SHELDON LOCKETT


   >—t>—t ’—‘©\O O\]C‘\U1-PUQN)                       UNITED STATES DISTRICT COURT

                                                FOR THE CENTRAL DISTRICT OF CALIFORNIA


                                  SHELDON LOCKETT,                            Case No.: 2:18—cv—5838—PJW

                                                                              PLAINTIFF’S SUPPLEMENTAL
                                                    Plaintiffs,               STATEMENT OF ADDITIONAL
                                                                              MATERIAL FACTS IN
                                                                              OPPOSITION TO DEFENDANT
                                               V.
                                                                              COUNTY OF LOS ANGELES’
                                                                              MOTION FOR SUMMARY
                                  COUNTY OF LOS ANGELES, a                    JUDGMENT
                                  public entity; LOS ANGELES
                                  COUNTY SHERIFF’S                            Hearin Date: August 19, 2020
                                                                              Time: 1:00 a.m.
                                  DEPARTMENT, a law enforcement               Courtroom: 790 .
                                  agency; SHERIFF JIM MCDONNELL;              Judge: Hon. Patrick J. Walsh
                                  MIZRAIN ORREGO, a Deputy Los
                                  Angeles County Sheriff; SAMUEL
                                  ALDAMA, a Deputy Los Angeles
                                  County Sheriff; and DOES 1 through
                                  100, inclusive,
                                                    Defendants.




                                                                          1
                                       PLAINTIFF’S SUPPLEMENTAL STATEMENT OF ADDITIONAL MATERIAL FACTS IN
                                       OPPOSITION TO COUNTY OF LOS ANGELES’ MOTION FOR SUMMARY JUDGMENT
Case 2:18-cv-05838-DSF-JPR Document 195 Filed 08/17/20 Page 2 of 8 Page ID #:3737




                  p—n               TO THE HONORABLE COURT, ALL PARTIES AND THEIR ATTORNEYS
                                    OF RECORD:
                                           PLEASE TAKE NOTICE that Plaintiff SHELDON LOCKETT (“Plaintiff”)
                                    hereby submits his Supplemental Statement of Additional Material Facts in
                                    opposition to Defendants COUNTY OF LOS ANGELES and LOS ANGELS
                                    COUNTY SHERIFF’S DEPARTMENT’S (collectively, “COLA”) Motion for
                                    Summary Judgment.
                                           PLAINTIFF’S SUPPLEMENTAL ADDITIONAL MATERIAL FACTS


                                             PLAINTIFF’S ADDITIONAL
                                                                                     SUPPORTING EVIDENCE
                                                  MATERIAL FACTS
   >—t>—t ’—‘©\O O\IC‘\KJ1-PU3l\)
                                    92.    Austreberto Gonzalez (“Gonzalez”)        Declaration of Steven C_
                                           has been employed by the Los             Glickman (“Glickman Decl.”),
                                           Angeles County Sheriff’ s Department     Ex. 27, Deposition of Austreberto
                                           (“LASD”) as a Deputy Sheriff for at      Gonzalez (“Gonzalez Depo.”) at.
                                           least 12 years.                          1 1 : 1 3 -18.
                                                                                    Glickman Decl., Ex. 29,
                                                                                    Gonzalez’s Government Tort
                                                                                    Claim at p. 1.
                                    93.    Gonzalez began working as a patrol       Glickman Decl., Ex. 27, Gonzalez
                                           deputy at Compton station in 2015.       Depo. at 1625-14.
                                                                                    Glickman Decl., Ex. 29,
                                                                                    Gonzalez’s Government Tort
                                                                                    Claim at p. 1.
                                    94.    The Compton station has been             0   Glickman Decl., EX. 27,
                                           permeated by a violent deputy gang           Gonzalez Depo. at 20:6—24.
                                           which calls itself the “Executioners.”   0   Glickman Decl., EX. 29,
                                                                                        Gonzalez’s Government Tort
                                                                                        Claim at p. 1.
                                    95.    The Executioners operate at Compton      Glickman Decl., Ex. 27, Gonzalez
                                           station with impunity.                   Depo. at 65:9—13.
                                                                                    Glickman Decl., Ex. 29,
                                                                                    Gonzalez’s Government Tort
                                                                                    Claim at p. 1.


                                                                               2
                                          PLAINTIFF’S SUPPLEMENTAL STATEMENT OF ADDITIONAL MATERIAL FACTS IN
                                          OPPOSITION TO COUNTY OF LOS ANGELES’ MOTION FOR SUMMARY JUDGMENT
Case 2:18-cv-05838-DSF-JPR Document 195 Filed 08/17/20 Page 3 of 8 Page ID #:3738




                                    PLAINTIFF’S ADDITIONAL
               p—n
                                                                             SUPPORTING EVIDENCE
                                       MATERIAL FACTS
                           96.    Members of the Executioners use            Glickman Decl., Ex. 27, Gonzalez
                                  violence against other deputies and        Depo. at 66:19-67;12.
                                  members of the public in order to          Glickman Decl., Ex. 29,
                                  increase their standing within the         Gonzalez’s Government Tort
                                  Executioners’ criminal organization.       Claim at p. 1.
                           97.    Non—members who seek to join the           Glickman Decl., Ex. 27, Gonzalez
                                  ranks of the Executioners are called       Depo. at 39:8-39: 18.
                                  “prospects.”                               Glickman Decl., Ex. 29,
                                                                             Gonzalez’s Government Tort
                                                                             Claim at p. 1.
                           98.    The Executioners recruit members at        Glickman Decl., Ex. 27, Gonzalez
   8\OOO\lO‘\U1-l>U3l\.)
                                  Compton station based upon the             Depo. at 72:19-93:10.
   p—n p—n                        prospect’s use of violence against         Glickman Decl., Ex. 29,
                                  suspects or other deputies.                Gonzalez’s Government Tort
   >—A l\-)
                                                                             Claim at p. 1.
   >—A U3
                           99.  Prospects are “chasing ink” by               Glickman Decl., Ex. 27, Gonzalez
   >—t            -P            purposefully carrying out excessive          Depo. at 38:13-40:10.
                                force, including fatal shootings, in         Glickman Decl., Ex. 29,
   >—A {J1
                                order to become an “inked” member            Gonzalez’s Government Tort
   >—A ON                       of the Executioners.                         Claim at p. 1.
   >—A \I
                           100. “Inking” refers to the act of each           Glickman Decl., Ex. 27, Gonzalez
                                newly made member of the                     Depo. at 34:19-35:10.
   >—A O0
                                Executioners receiving a matching            Glickman Decl., Ex. 29,
   >—A \O                       tattoo indicating membership in the          Gonzalez’s Government Tort
                                organization.                                Claim at p. 1.
   l\) O
                           101. The matching tattoo of the                   Glickman Decl., Ex. 27, Gonzalez
   [Q >—A
                                Executioners consists of a skull with        Depo. at 28:14-29:8; 30:2—4.
   l\) l\.)                     Nazi imagery, holding an AK-47,              Glickman Decl., Ex. 28,
                                located on the lower leg or calf.            Photograph of Compton Station
   l\) U)
                                                                             Workstation.
   l\) -P                                                                    Glickman Decl., Ex. 29,
   l\) U1
                                                                             Gonzalez’s Government Tort
                                                                             Claim at p. 1.
   [0 ON
                           102. Members become “inked” as                    Glickman Decl., Ex. 27, Gonzalez
   [0 \l                        Executioners after executing                 Depo. at 24: 15-24, 196:25-
                                members of the public, or otherwise          197:20.
   l\) 00


                                                                         3
                                 PLAINTIFF’S SUPPLEMENTAL STATEMENT OF ADDITIONAL MATERIAL FACTS IN
                                 OPPOSITION TO COUNTY OF LOS ANGELES’ MOTION FOR SUMMARY JUDGMENT
Case 2:18-cv-05838-DSF-JPR Document 195 Filed 08/17/20 Page 4 of 8 Page ID #:3739




                                   PLAINTIFF’S ADDITIONAL
               p—n
                                                                            SUPPORTING EVIDENCE
                                      MATERIAL FACTS
                                committing acts of violence in              Glickman Decl., Ex. 29,
                                furtherance of the gang.                    Gonzalez’s Government Tort
                                                                            Claim at p. 1.
                           103. Deputies involved in fatal shootings        Glickman Decl., Ex. 27, Gonzalez
                                at Compton station have immediately         Depo. at 34:25-35:10, 37:19—39:7,
                                been “inked,” with the organization         39:8—18.
                                having “inking parties” to celebrate        Glickman Decl., Ex. 29,
                                the induction of new members and            Gonzalez’s Government Tort
                                the Executioners member—involved            Claim at p. 14—38:8.
                                shooting.
                           104. The inking parties are also called          Glickman Decl., Ex. 27, Gonzalez
   8\OOO\lO‘\U1-l>U3l\.)        “998 debriefs” because 998 is the           Depo. at 37:19—39:7.
   p—n p—n
                                code for a deputy—involved shooting.
                           105. Nearly all the Compton station              Glickman Decl., Ex. 27, Gonzalez
   >—t l\-)
                                deputies who have been involved in          Depo. at 74:2-13.
   >—t U3                       high-profile shootings and out-of-          Glickman Decl., Ex. 29,
                                policy beatings at Compton station in       Gonzalez’s Government Tort
   >—t            -P
                                recent years have been “inked”              Claim at p. 1.
   >—t {J1                      members of the Executioners.
   >—t ON
                           106. Of approximately 100 patrol deputies        Glickman Decl., Ex. 27, Gonzalez
                                at Compton station, approximately           Depo. at 187:8-14.
   >—t \I
                                15-20 are inked members of the              Glickman Decl., Ex. 29,
   >—t O0                       Executioners.                               Gonzalez’s Government Tort
   >—t \O
                                                                            Claim at p. 1.
                           107. Gonzalez has seen the tattoos of            Glickman Decl., Ex. 27, Gonzalez
   [0 O
                                Executioners at the Compton station         Depo. at 24:25-25:20.
   [Q >—t                       approximately 12-15 times.
                           108. Gonzalez has seen the Executioners          Glickman Decl., Ex. 27, Gonzalez
   l\) l\.)
                                tattoo on                                   Depo. at 25:21-26:16, 28:10-16,
   l\) U)                                                                   29:4—8, 33:6-10.
   [Q -P                                                                    Glickman Decl., Ex. 30, Shift In-
                                                    , and Deputy            Service Sheet.
   l\) U1
                                Aldama.
   [0 ON                   109. Gonzalez knows the following                Glickman Decl., Ex. 27, Gonzalez
                                additional deputies to be part of the       Depo. at 32:19-25, 201 :4-23.
   [0 \l
                                Executioners gang: Deputy
   l\) 00


                                                                        4
                               PLAINTIFF’S SUPPLEMENTAL STATEMENT OF ADDITIONAL MATERIAL FACTS IN
                               OPPOSITION TO COUNTY OF LOS ANGELES’ MOTION FOR SUMMARY JUDGMENT
Case 2:18-cv-05838-DSF-JPR Document 195 Filed 08/17/20 Page 5 of 8 Page ID #:3740




                                   PLAINTIFF’S ADDITIONAL
               p—n
                                                                         SUPPORTING EVIDENCE
                                      MATERIAL FACTS
                           110. Gonzalez first saw the tattoo after he   Glickman Decl., Ex. 27, Gonzalez
                                began his employment at Compton          Depo. at 190:18—191 :3.
                                station in 2015.
                           111. “Inked” Executioners openly show         Glickman Decl., Ex. 27, Gonzalez
                                off their Executioners-affiliated        Depo. at 33:11-17.
                                tattoos by wearing shorts, even in
                                cold weather.
                           112. Approximately 20 other deputies are      Glickman Decl., Ex. 27, Gonzalez
                                considered “prospects” or are            Depo. at 53:23-54:1, 104:7—10,
                                otherwise close associates of the        201 :4—6.
                                gang.                                    Glickman Decl., Ex. 29,
   8\OOO\lO‘\U1-I>U3l\.)
                                                                         Gonzalez’s Government Tort
   p—n p—n
                                                                         Claim at p. 1.
                           113. The gang members communicate             Glickman Decl., Ex. 27 , Gonzalez
   >—A l\-)
                                exclusively through WhatsApp, an         Depo_ 802-22,
   >—A U3                       encrypted messaging application on       Glickman Decl., Ex. 29,
   >—t            -P
                                their mobile phones.                     Gonzalez’s Government Tort
                                                                         Claim at p. 1.
   >—A {J1
                           114. The Executioners do not allow Black      Glickman Decl., Ex. 27, Gonzalez
   >—A ON                       or female members.                       Depo. at 71:10-25.
   >—A \I
                                                                         Glickman Decl., Ex. 29,
                                                                         Gonzalez’s Government Tort
   >—A O0
                                                                         Claim at p. 1.
   >—A \O                  115. The Executioners and prospects           Glickman Decl., Ex. 27, Gonzalez
                                frequently call in a “ghost gun” or      Depo. at 67:15-68:21, 69:5—17,
   l\) O
                                “ghost 417,” i.e., falsely reporting     70:2—71:9.
   [Q >—A                       over the shared radio that a suspect
                                had a gun when in reality, they never
   l\) l\.)
                                saw a gun, in order to get other
   l\) U)                       deputies to arrive on scene and help
   l\) -P
                                “contain,” or use excessive force,
                                against the suspect.
   l\) U1
                           116. The Executioners are led by inked        Glickman Decl., Ex. 27, Gonzalez
   [0 ON                        ‘shot caller,’ or leader, Deputy         Depo. at 51:2-13.
                                                           .             Glickman Decl., Ex. 29,
   [0 \l
                                                                         Gonzalez’s Government Tort
   l\) 00
                                                                         Claim at p. 2.
                                                                     5
                               PLAINTIFF’S SUPPLEMENTAL STATEMENT OF ADDITIONAL MATERIAL FACTS IN
                               OPPOSITION TO COUNTY OF LOS ANGELES’ MOTION FOR SUMMARY JUDGMENT
Case 2:18-cv-05838-DSF-JPR Document 195 Filed 08/17/20 Page 6 of 8 Page ID #:3741




               p—n
                                   PLAINTIFF’S ADDITIONAL
                                                                             SUPPORTING EVIDENCE
                                         MATERIAL FACTS
                           117. Deputy          was transferred to           Glickman Decl., Ex. 27 , Gonzalez
                                Industry Station after causing a work        Depo_ 87 2-22,
                                slowdown at Compton station.                 Glickman Decl., Ex. 29,
                                                                             Gonzalez’s Government Tort
                                                                             Claim at p. 2.
                           118. Then-Captain Michael Thatcher                Glickman Decl., Ex. 27, Gonzalez
                                (“Captain Thatcher”) orchestrated the        Depo. at 106:11-107:4.
                                return of Deputy       to Compton            Glickman Decl., Ex. 29,
                                station.                                     Gonzalez’s Government Tort
                                                                             Claim at p. 2.
                           119. Captain Thatcher knew of the                 Glickman Decl., Ex. 27, Gonzalez
   8\OOO\lO‘\U1-l>U3l\.)
                                existence of the Executioners gang.          Depo. at 89:7—19.
   p—n p—n                 120. Captain Thatcher sought the                  Glickman Decl., Ex. 27, Gonzalez
   >—A l\-)
                                assistance of Deputy         and the         Depo. at 93:11-18, 96:1-23,
                                Executioners gang to implement an            110:21-111216, 212:24—213:5.
   >—A U3
                                illegal arrest quota at Compton              Glickman Decl., Ex. 29,
   >—t            -P            station, in violation of California law      Gonzalez’s Government Tort
                                (Vehicle Code section 41602).                Claim at p. 3.
   >—A {J1
                           121. Deputy          directed deputy gang         Glickman Decl., Ex. 27, Gonzalez
   >—A ON                       members and their associates to begin        Depo. at 93:11-18, 96:1-23,
   >—A \I
                                arresting individuals for                    110:21-111216, 212:24—213:5.
                                misdemeanors or infractions that             Glickman Decl., Ex. 29,
   >—A O0
                                previously would not have resulted in        Gonzalez’s Government Tort
   >—A \O                       an arrest.                                   Claim at p. 3.
   l\) O
                           122. Thanks to Deputy           and the           Glickman Decl., Ex. 27, Gonzalez
                                Executioners, the arrest statistics or       Depo. at 110:21-111:9.
   [Q >—A                       “stats” increased from an average of         Glickman Decl., Ex. 29,
   l\) l\.)
                                2.5 arrests per deputy, per month to         Gonzalez’s Government Tort
                                approximately 7 arrests per deputy,          Claim at pp. 3-4.
   l\) U)
                                per month.
   l\) -P                  123. Deputy           and the other               Glickman Decl., Ex. 27, Gonzalez
                                Executioners artiﬁcially inﬂated             Depo. at 93: 1 1-94:5, 95:18-25,
   l\) U1
                                arrest statistics as a favor from the        110:21-111:16.
   [0 ON                        gang to Captain Thatcher.                    Glickman Decl., Ex. 29,
   [0 \l                                                                     Gonzalez’s Government Tort
                                                                             Claim at p. 3.
   l\) 00


                                                                         6
                               PLAINTIFF’S SUPPLEMENTAL STATEMENT OF ADDITIONAL MATERIAL FACTS IN
                               OPPOSITION TO COUNTY OF LOS ANGELES’ MOTION FOR SUMMARY JUDGMENT
Case 2:18-cv-05838-DSF-JPR Document 195 Filed 08/17/20 Page 7 of 8 Page ID #:3742




                                   PLAINTIFF’S ADDITIONAL
               p—n
                                                                         SUPPORTING EVIDENCE
                                      MATERIAL FACTS
                           124. As a result of the inﬂated arrest        Glickman Decl., Ex. 27, Gonzalez
                                statistics, Captain Thatcher was         Depo. at 9621-12.
                                commended for the increased arrests
                                under these initiatives by the
                                Executioners, and ultimately received
                                a promotion to the position of
                                Commander because of their efforts.
                           125. Captain Thatcher returned the favor      Glickman Decl., Ex. 27, Gonzalez
                                by granting leniency to an associate     Depo. at 206: 1—207:2.
                                of Depuy           the Executioners’
                                leader, when the associate would
   8\OOO\lO‘\U1-l>U3l\.)        otherwise have been subject to
   p—n p—n
                                discipline at work.
                           126. The arrest quota and scheme by the       Glickman Decl., Ex. 27, Gonzalez
   >—t l\-)
                                Executioners resulted in the violation   Depo. at 111:10—16.
   >—t U3                       of the civil rights of hundreds of       Glickman Decl., Ex. 29,
                                resides of the Compton patrol area.      Gonzalez’s Government Tort
   >—t            -P
                                                                         Claim at p. 4.
   >—t {J1
                           127. The Executioners “run the station” at    Glickman Decl., Ex. 27, Gonzalez
   >—t ON                       Compton.                                 Depo. at 119:22—120:8.
                           128. In February 2020, Gonzalez               Glickman Decl., Ex. 27, Gonzalez
   >—t \I
                                anonymously reported an incident to      Depo. at 115:21—117:13.
   >—t O0                       Internal Affairs Bureau in which         Glickman Decl., Ex. 29,
   >—t \O
                                Deputy                    , an inked     Gonzalez’s Government Tort
                                Executioner, assaulted Deputy            Claim at p. 4.
   [0 O                                            .
   [Q >—t                  129. Executioners at Compton station          Glickman Decl., Ex. 27, Gonzalez
                                learned that Gonzalez reported the       Depo. at 128:15—129:1.
   l\) l\.)
                                incident and retaliated against him.     Glickman Decl., Ex. 29,
   l\) U)                                                                Gonzalez’s Government Tort
   [Q -P
                                                                         Claim at pp. 4-5.
                           130. Grafﬁ tiwas written on the entrance to   Glickman Decl., Ex. 27, Gonzalez
   l\) U1
                                the Compton station which described      Depo. at 124:24—125:2.
   [0 ON                        Gonzalez as a “rat.”                     Glickman Decl., Ex. 29,
                                                                         Gonzalez’s Government Tort
   [0 \l
                                                                         Claim at p. 5.
   l\) 00


                                                                    7
                               PLAINTIFF’S SUPPLEMENTAL STATEMENT OF ADDITIONAL MATERIAL FACTS IN
                               OPPOSITION TO COUNTY OF LOS ANGELES’ MOTION FOR SUMMARY JUDGMENT
Case 2:18-cv-05838-DSF-JPR Document 195 Filed 08/17/20 Page 8 of 8 Page ID #:3743




                                            PLAINTIFF’S ADDITIONAL
                  p—n
                                                                                   SUPPORTING EVIDENCE
                                               MATERIAL FACTS
                                    131. Gonzalez took a photo of the desk of      Glickman Decl., Ex. 27, Gonzalez
                                         Deputy           an inked                 Depo. at 9024-16.
                                         Executioner, when he saw that it had      Glickman Decl., Ex. 28,
                                         a pencil holder, mouse, and               Photograph of Compton
                                         mousepad displaying the                   Workstation.
                                         Executioners’ tattoo logo.                Glickman Decl., Ex. 29,
                                                                                   Gonzalez’s Government Tort
                                                                                   Claim at p. 7.
                                    132. Deputy Samuel Aldama is an “inked”        Glickman Decl., Ex. 27, Gonzalez
                                         Executioner who received his tattoo       Depo. at 34:8—24.
                                         after he and Deputy
                                         were involved in a fatal shooting.
   >—t>—t ’—‘©\O O\IC‘\KJ1-PU3l\)   133. Aldama and           was “chasing         Glickman Decl., Ex. 27, Gonzalez
                                         ink” before becoming inked members        Depo. at 38:13-40:10, 43:4—23.
                                         of the Executioners.
                                    134. After A1dama’s deposition was taken       Glickman Decl., Ex. 27, Gonzalez
                                         in 2018, Captain Thatcher sent an         Depo. at 206: 1-207: 1 1.
                                         email to all the deputies at Compton
                                         station advising them to prepare an
                                         explanation or cover story for any
                                         Compton station—afﬁ1iated tattoos
                                         they had.
                                    135. Gonzalez was the source of all of the     Glickman Decl., Ex. 27, Gonzalez
                                         facts contained in his government tort    Depo. at 11:25-12:13.
                                         claim form and was truthﬁll when
                                         stating those facts.

                                    DATED: August 14, 2020        THE SWEENEY FIRM
                                                                  and
                                                                  GLICKMAN & GLICKMAN,
                                                                  A LAW CORPORATION

                                                                  By      /s/ Steven C. Glickman
                                                                       John E. Sweeney
                                                                       Steven C. Glickman
                                                                       Attorneys for Plaintiff SHELDON LOCKETT


                                                                             8
                                        PLAINTIFF’S SUPPLEMENTAL STATEMENT OF ADDITIONAL MATERIAL FACTS IN
                                        OPPOSITION TO COUNTY OF LOS ANGELES’ MOTION FOR SUMMARY JUDGMENT
